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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

In re:                                                Case No. 8:24-bk-00676-RCT
THE CENTER FOR SPECIAL NEEDS                          Chapter 11
TRUST ADMINISTRATION, INC.

            Debtor.
_____________________________________/



  MOTION FOR ADMISSION OF MARCOS ROSALES TO APPEAR PRO HAC VICE
           AND ATTACHED DESIGNATION OF LOCAL COUNSEL


       Marcos Rosales, of Beck Redden LLP (“Movant”), pursuant to Local Rule 2090-1, moves

this Court for admission to appear pro hac vice, in this case, and any related adversary proceedings,

as counsel for American Momentum Bank, and states as follows:

       1.      Movant is an attorney licensed to practice law and is a member of good standing of

the state bar in Texas.

       2.      Movant is also admitted to practice before and is in good standing with the United

States District Court for the Northern District of Texas, Southern District of Texas, Eastern District

of Texas, and Western District of Texas.

       3.      Movant designates Donald R. Kirk, a resident Florida attorney, Carlton Fields,

P.A., who is qualified to practice in this Court and who consents to designation as local counsel.

Local counsel’s written designation and consent to act is attached as Exhibit A.

       4.      Movant certifies that he has never been disbarred and is not currently suspended

from the practice of law in the State of Texas or any other state, nor from any United States

Bankruptcy Court, District Court, or Court of Appeals.
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       5.      Movant certifies that he has not previously moved for admission pro hac vice to

appear in a proceeding in the United States District Court for the Middle District of Florida, except

that Movant applied for special admission in Case No. 8:24-cv-00438-SDM-AEP; Chamberlin et

al. v. Boston Finance Group, LLC, et al., in the United States District Court for the Middle District

of Florida, Tampa Division. Chamberlin was filed on February 19, 2024 (exactly ten days after

the Chapter 11 Petition was filed in this case) and was expressly based on the facts set forth in the

Chapter 11 Petition and other first-day motions. Moreover, Movant applied for special admission

to represent American Momentum Bank in Chamberlin, the same party as in this proceeding.

       6.      Movant certifies further that he will make himself familiar with and shall be

governed by the local rules of this Court, the rules of professional conduct, and all other

requirements governing the Middle District of Florida District Court and Tampa Division of the

United States District Court.

       7.      Within fourteen days from the date of an order granting this motion, Movant shall

pay to the Clerk of the United States District Court for the Middle District of Florida an Attorney

Special Admission Fee in the amount of $150.00 accompanied by a copy of the Court’s order.

Upon payment of the fee, Movant shall file a Notice of Compliance with the Clerk of the United

States Bankruptcy Court.

       WHEREFORE, Movant respectfully requests entry of an order authorizing his admission

to practice and represent American Momentum Bank in this case and any related proceedings.
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 Dated: April 2, 2024                             Respectfully submitted,
                                                 /s/ Marcos Rosales
                                                 Marcos Rosales
                                                 TX Bar No. 24074979
                                                 Federal Bar No. 1125440
                                                 (Pro Hac Vice Pending)
                                                 BECK REDDEN LLP
                                                 mrosales@beckredden.com
                                                 1221 McKinney, Suite 4500
                                                 Houston, TX 77010-2010
                                                 Telephone: (713) 951-3700
                                                 Facsimile: (713) 951-3720
                                                 ATTORNEY FOR
                                                 AMERICAN MOMENTUM BANK




                                     CERTIFICATE OF SERVICE
       I hereby certify that on April 3, 2024, I electronically filed the foregoing was filed with the
Clerk of Court by using the Court’s CM/ECF system thereby serving all registered users in this
case.


                                               /s/ Marcos Rosales
                                               Marcos Rosales
                                               TX Bar No. 24074979
                                               Federal Bar No. 1125440
                                               (Pro Hac Vice Pending)
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                                               ATTORNEY FOR
                                               AMERICAN MOMENTUM BANK
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       WRITTEN DESIGNATION AND CONSENT TO ACT AS LOCAL COUNSEL


       I, Donald R. Kirk, an attorney qualified to practice in this Court, consent to designation as

the local attorney for Marcos Rosales, and agree to serve as designee with whom the Court and

opposing counsel may readily communicate regarding the conduct of this case and any related

proceedings, and upon whom papers shall be served.

                                                     /s/ Donald Kirk
                                                         Donald R. Kirk
                                                         Florida Bar No. 105767
                                                         Carlton Fields, P.A.
                                                         4221 W. Boy Scout Blvd.
                                                         Ste. 1000
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                                                         ATTORNEY FOR
                                                         AMERICAN MOMENTUM BANK
